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                                       #:1501


 1 JENNIE PASQUARELLA*
   MARK ROSENBAUM, SBN 59940
 2 ACLU Foundation of Southern California
   1313 West Eighth St.
 3 Los Angeles, CA 90017
   Telephone: (213) 977-9236
 4 Facsimile: (213) 977-5297
   jpasquarella@aclu-sc.org
 5
   TASNEEM DOHADWALA, SBN 218067
 6 300 South Grand Ave., Suite 3400
   Los Angeles, CA 90071-3144
 7 Telephone: (213) 687-5627
   Facsimile: (213) 621-5627
 8 tasneem.dohadwala@probonolaw.com
 9
     Attorneys for Plaintiffs
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     *Pro Hac Vice Application Pending
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12                          UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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15 ISLAMIC SHURA COUNCIL OF                   )   Case No: SACV 07-01088-CJC(ANx)
   SOUTHERN CALIFORNIA et al.,                )
16                                            )   [PROPOSED] ORDER RE MOVING
                      Plaintiffs,             )   PRETRIAL AND TRIAL DATES
17                                            )
            v.                                )   Judge: Hon. Cormac J. Carney
18                                            )
   FEDERAL BUREAU OF                          )
19 INVESTIGATION; and UNITED                  )
   STATES DEPARTMENT OF                       )
20 JUSTICE                                    )
                                              )
21                              Defendants.   )
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                                                #:1502


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               IT IS HEREBY ORDERED that, in light of the parties’ pending summary
 2
     judgment motions, the Pretrial Conference scheduled for January 12, 2009 at 3:30
 3
     p.m. is continued to September 14, 2009 at 3:30 p.m. and the trial date scheduled for
 4
     January 20, 2009 at 9:00 a.m. is continued to September 22, 2009 at 9:00 a.m.
 5
 6
 7
 8 DATED: January 8, 2009                          ________________________________
 9                                                 CORMAC J. CARNEY
                                                   UNITED STATES DISTRICT JUDGE
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11
12
13 SUBMITTED BY:
14
15                        ______________
   TASNEEM DOHADWALA, SBN 218067
16 300 South Grand Avenue
   34th Floor
17 Los Angeles, CA 90071-3144
   Tel: (213) 687-5000
18 Fax: (213) 621-5687
19 Attorney for Plaintiffs
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